       Case 21-21053-jrs           Doc 79-5      Filed 11/24/21 Entered 11/24/21 17:05:12   Desc
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EXTRUSION GROUP LLC - DIP
Profit & Loss
October 5 - 31, 2021                                  Accrual Basis
                                                     Oct 5 - 31, 21
 Ordinary Income/Expense
    Income
     4010000 · Sales Revenue (Sales Revenue)
       401500 · Revenue Deferred                             (9,172)
       401700 · Services (Sales Revenue:Servies)            25,000
     Total 4010000 · Sales Revenue (Sales Revenue)          15,828
    Total Income                                            15,828
    Cost of Goods Sold
     560000 · COGS Other (COGS Other)                         5,564
    Total COGS                                                5,564
  Gross Profit                                              10,264
    Expense
     7000001 · Payroll Expenses                               5,655
    Total Expense                                             5,655
 Net Ordinary Income                                          4,609
Net Income                                                    4,609




                                                                                              Page 1 of 1
